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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS


BITMANAGEMENT SOFTWARE GMBH,                                              REDACTED VERSION

              Plaintiff,
                                                        No. 16-840 C
       v.
                                                        Senior Judge Edward J. Damich
THE UNITED STATES,

              Defendant.


               DEFENDANT’S MOTION FOR LEAVE TO FILE
          A RESPONSE TO PLAINTIFF’S SUR-REPLY REGARDING
          OBJECTIONS TO EVIDENCE OFFERED IN SUPPORT OF
  PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON LIABILITY

       Defendant, the United States (the Government) respectfully moves leave to file the

attached four-page response to the admissibility arguments of Plaintiff, Bitmanagement Software

GmbH (Bitmanagement), as stated in its Sur-Reply. See ECF 34.

                                        ARGUMENT

       The Government’s motion for leave to file a response to Bitmanagement’s sur-reply

should be granted because Bitmanagement relies, for the first time in its Sur-Reply, on a newly-

submitted declaration of its CEO.      See ECF 34-1 (declaration); ECF 34 at 3-5 (citing).

Bitmanagement failed to offer this declaration with its Motion for Partial Summary Judgment,

see ECF 25, with its Reply in Support of its Motion, see ECF 29, or with its Response to the

Government’s evidence objections, see ECF 29-1.        In fairness, the Government should be

provided an opportunity to respond to this new declaration, particularly where Bitmanagement

was obligated to provide support for its motion for summary judgment in the first instance. See

RCFC 56(c)(1); see also United States v. Ford Motor Co., 463 F.3d 1267, 1277 (Fed. Cir. 2006)

(“It is unfair to consider an argument to which the [opposing party] has been given no


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opportunity to respond.”); Novosteel SA v. United States, 284 F.3d 1261, 1274 (Fed. Cir. 2002)

(“[R]eply briefs reply to arguments made in the response brief—they do not provide the moving

party with a new opportunity to present yet another issue for the court’s consideration.”)

(emphasis in original); Amoco Oil Co. v. United States, 234 F.3d 1374, 1377 (Fed. Cir. 2000).

       In view of the foregoing, the Government respectfully moves for leave to file the attached

four-page response to afford it the opportunity to address Bitmanagement’s arguments with

respect to the newly-raised declaration.

                                           Respectfully submitted,

                                           CHAD A. READLER
                                           Acting Assistant Attorney General

                                           GARY L. HAUSKEN
                                           Director


                                           s/Scott Bolden
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